         Case 1:21-cv-00532-SAG Document 102 Filed 09/09/21 Page 1 of 1



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND



 BRYCE CARRASCO,

         Plaintiff,                                       Civil Action

                 -against-                                No. 21-532-SAG

 M&T BANK,

         Defendant.



Motion to regard all filings on the docket.

The Letter Order on the docket, ECF 99, filed by the Presiding Judge, references email
correspondence. Attached hereto is the emails sent by Plaintiff, and this motion specifically
requests for the court to regard these filings as related to the case, as well as to regard every
docket entry in this case, to be related to this case, based on common sense notions of what is
related and what is not related to a certain thing in the Course of human events.

                                          *      *       *

I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on September 9, 2021. /s/Bryce Carrasco.

                                         Bryce Carrasco
                                      334 Ternwing Drive
                                    Arnold, Maryland 21012
                                   bocarrasco47@outlook.com
                                          410-858-7432
